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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF LOUISIANA


In Re: Oil Spill by the Oil Rig           §     MDL NO. 2179
“Deepwater Horizon” in the Gulf of        §
Mexico, on April 20, 2010                 §     SECTION: J
                                          §
This Document Relates to:                 §     Judge Barbier
                                          §
Ansardi et al v. BP. PLC, et al           §
(11-1129)                                 §     Mag. Judge Shushan
Kuzma Petrovich, Jr. [Only]               §
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                 MEMORANDUM IN SUPPORT OF
                MOTION TO RELEASE HELD FUNDS


       MAY IT PLEASE THE COURT, Plaintiff Kuzma Petrovich, Jr., is

requesting that the $42,659.82 withheld from his settlement per the 6%

holdback be refunded to him or in the alternative that the 6% be calculated

from the 60% award received not from the gross settlement offer which would

result in a $17,063.93 refund.

FACTS

       Plaintiff originally filed a claim with the Gulf Coast Claims Facility

and on March 31, 2011 received an offer of $31,770.14 to resolve his claim.

Plaintiff rejected this offer and hired undersigned counsel on November 3,

2011, executing a 10% contingency fee contract.

       On April 20,2011, Plaintiff filed a suit against the Defendants in 25th

Judicial District Court for the Parish of Plaquemine asserting claims under




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Louisiana state law. Said suit was removed to federal court and assigned

case number 11-1129.

       Undersigned counsel made numerous trips to Destin, FL; Washington

D.C.; and New York, NY to meet with Ken Feinberg and his accountants in

order to negotiate this claim. The last meeting with Mr. Feinberg took place

on February 22 and 23, 2012 in Washington DC.              After months of

negotiations and revisions of the formulary used by the GCCF; Plaintiff

received an offer on March 7, 2012 for $710,997.00. Plaintiff executed the

acceptance on March 8, 2012 and Salvadore Christina, Jr. hand delivered this

acceptance to the GGCG office, located on Chef Menteur in New Orleans, LA,

on the morning of March 8, 2012. (Acceptance attached hereto as Exhibit A).

       On Monday, April 2, 2012, undersigned counsel received a check in the

amount of $401,002.23, which represented a 60% payment of the accepted

settlement. This figure was calculated by first taking the 6% holdback from

the gross of $710,997.00 for a sum of $668,337.18 and then paying 60% of

that sum to Plaintiff.

ARGUMENT

       Plaintiff contends that he has not received a benefit from the PSC and

therefore should not be charged the 6% assessment.        The PSC did not

negotiate on his behalf with the GCCF to increase his claim, the PSC took no

action to increase multipliers given to oysterman or change the formulary




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that was being used, and Plaintiff did not use any of the PSC’s work product

in his efforts to settle his claim.

       Plaintiff hired his own experts, at his own out-of-pocket expense, to

have studies conducted on his leases to illustrate the damage caused by the

oil spill.   Still after almost two years from the date of the spill, none of

Plaintiff’s leases are producing harvestable sized oysters. Plaintiff’s counsel

travelled to different cities to meet with the GCCF in order to facilitate the

settlement that was reached.          Not only did these meetings benefit the

Plaintiff individually but also these meetings resulted in all oysterman

receiving a multiplier (between 2-7) for damage done to their leases. Kuzma

Petrovich, Sr. has a claim in excess of two million dollars, which was being

negotiated at the same time as that of his son’s claim.

       If anything, Daniel Becnel, Jr. should be given a common benefit fee

from the oysterman since it was at his initiative that the formula used by the

GGCF, was changed to increase their award by given oysterman a multiploer

between 2-7x of their loss income from their productive lease acreage. No one

on the PSC attended these meeting where the formulary was discussed other

than Mr. Cossich, who attended the meeting where the new formula was

presented for the first time.

       Not only did undersigned counsel give a reduced contract rate of 10%

to the Plaintiff, Plaintiff and his father, Kuzma Petrovich, Sr., an oysterman

for over 45 years, both talked to Ken Feinberg, Mary Pat Fox and the




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accountants from Price Waterhouse to educate them on how the oyster

business functioned and was conducted.          This education of the claims

administration was necessary in order for them to understand the oyster

industry and all the effects the oil spill caused. It was partially through

these discussions and education that the Mr. Feinberg agreed that a change

in the formulary was necessary to properly compensate the oysterman.

       Plaintiff contends that if he was to receive a higher amount than what

was offered by the GCCF due to the settlement that was reached by the PSC

then, that amount, should be charged the 6% assessment. However, since he

received his first offer in November of 2011 and thereafter asked for a timely

review of the initial offer, Plaintiff should not be taxed in such a manner.

       In the alternative, Plaintiff argues that if this Honorable Court holds

that he should have been taxed the 6% assessment, and then the amount was

calculated incorrectly. The PSC should only receive 6% of what the Plaintiff

received. Therefore the calculation should have been $710, 997.00 * .6 for a

initial payment of $426,598.20 and then the 6% would be taken from that

figure for a payment to the holdback fund of $25,595.89 instead of the

$42,659.82, which was withheld.

       At this point in time, neither the Plaintiff, the PSC, nor the Court

knows whether or not the final offer will be acceptable to Plaintiff and

whether or not he will elect to opt-out of the settlement.        At most, the

holdback fund should be calculated from an amount that is received by the




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claimant not an amount that may be or could be accepted in the future. The

calculation as presently done actually takes 10.6% of his current payment

instead of the court-ordered 6%.

            Plaintiff prays that this Honorable Court will order that he be

refunded the full amount withheld for the hold-back fund or in the

alternative, prays that the Court order the hold-back to be calculated from

the amount actually received by the claimant and therefore issued Plaintiff a

refund in the amount of $17,063.93

       Date: April 3, 2012               Respectfully submitted,

                                         /s/ Daniel E. Becnel, Jr.
                                         Daniel E. Becnel, Jr. (2926)
                                         Matthew B. Moreland (24567)
                                         Salvadore Christina, Jr. (27198)
                                         BECNEL LAW FIRM, LLC
                                         106 W. SEVENTH ST.
                                         P.O. DRAWER H
                                         RESERVE, LA 70084


                                 CERTIFICATE OF SERVICE

              I hereby certify that the above and foregoing pleading has been
       served on All Counsel by electronically uploading the same to Lexis Nexis
       File & Serve in accordance with Pretrial Order No. 12, and that the
       foregoing was electronically filed with the Clerk of Court of the United
       States District Court for the Eastern District of Louisiana by using the
       CM/ECF System, which will send a notice of electronic filing in
       accordance with the procedures established in MDL2179, on this 3rd day
       of April, 2012.
                                    /s/ Daniel E. Becnel, Jr.
                                      Daniel E. Becnel, Jr.
	  


	  




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